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                                United States District Court
                                Southern District of Texas
                                     Houston Division

Grey Rock Gathering &                                §
Marketing, L.L.C.                                    §
     Plaintiff,                                      §       Civil Action No. 4:22-cv-2322
                                                     §
versus                                               §       Diversity
                                                     §
                                                     §       Jury Demanded
                                                     §
Liberty Mutual Insurance Company                     §
      Defendant.                                     §

                  Plaintiff’s Notice of Dismissial Without Prejudice

To the Court:

       Comes Now Grey Rock Gathering & Marketing, L.L.C. (“Plaintiff”), and pursuant to Rule

41(a)(i) of the Federal Rules of Civil Procedure files this notice of dismissal without prejudice.

This notice is filed before Liberty Mutual Insurance Company has neither filed an answer nor

motion for summary judgment. See Court’s docket. Because neither an answer nor motion for

summary judgment have been filed by Liberty Mutual Insurance Company no order is required for

dismissal. See FED. R. CIV. P. 41(a)(i).   Respectfully submitted this 1st day of August, 2022.


                                                      THE CREW LAW FIRM, P.C.
                                                      /s/ Paxton N. Crew
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